      CASE 0:19-cv-01222-JRT-HB Document 217 Filed 07/24/20 Page 1 of 5




                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA



 IN RE CATTLE ANTITRUST LITIGATION Civil No. 19-cv-1222 (JRT/HB)



 This document relates to:

 ALL CASES


 KENNETH PETERSON, et al.                         Case No. 0:19-cv-1129 (JRT/HB)

                                   Plaintiffs,

 v.

 JBS USA FOOD COMPANY HOLDINGS,
 TYSON FOODS, INC., CARGILL, INC.,
 and NATIONAL BEEF PACKING
 COMPANY,

                                   Defendants.


  PLAINTFFS’ MOTION TO NARROWLY LIFT THE DISCOVERY STAY TO
    REQUIRE DEFENDANTS TO PRODUCE DOCUMENTS RECENTLY
                     PROVIDED TO THE DOJ

       Plaintiffs, by and through counsel, hereby move this Court pursuant to Federal Rule

of Civil Procedure 26(b)(1) and the Court’s inherent authority to manage its docket, for an

order narrowly lifting the stay of discovery and requiring Defendants to produce a copy of

all documents they produced (or are currently producing) to the United States Department

of Justice in response to June 2020 civil investigative demands. This motion is based upon



                                            1
      CASE 0:19-cv-01222-JRT-HB Document 217 Filed 07/24/20 Page 2 of 5




all of the files, records, and proceedings in this action, and the memorandum of law,

declaration and exhibits filed herewith, and oral arguments of counsel.

                       LR 7.1(a)(1) Meet-and-Confer Statement

       Pursuant to Local Rule 7.1(a)(1), Plaintiffs certify that their counsel met and

conferred in good faith with counsel for Defendants on July 21, 2020 regarding its Motion

to Narrowly Lift the Discovery Stay to Require Defendants to Produce Documents

Recently Provided to the DOJ, and that the parties were unable to resolve the issues raised

in the Motion.

Dated: July 24, 2020                      SCOTT+SCOTT
                                          ATTORNEYS AT LAW LLP

                                          /s/ Amanda F. Lawrence
                                          David R. Scott (pro hac vice)
                                          Amanda F. Lawrence (pro hac vice)
                                          Patrick J. McGahan (pro hac vice)
                                          Michael P. Srodoski (Bar No. 0398250)
                                          156 South Main Street
                                          P.O. Box 192
                                          Colchester, CT 06415
                                          Tel.: 860-537-5537
                                          Fax: 860-537-4432
                                          david.scott@scott-scott.com
                                          alawrence@scott-scott.com
                                          msrodoski@scott-scott.com

                                          Christopher M. Burke (pro hac vice)
                                          SCOTT+SCOTT
                                          ATTORNEYS AT LAW LLP
                                          600 W. Broadway, Suite 3300
                                          San Diego, CA 92101
                                          Tel.: 619-233-4565
                                          Fax: 619-233-0508
                                          cburke@scott-scott.com




                                            2
CASE 0:19-cv-01222-JRT-HB Document 217 Filed 07/24/20 Page 3 of 5




                             Anthony F. Fata (pro hac vice)
                             Jennifer W. Sprengel (pro hac vice)
                             Christopher P.T. Tourek (pro hac vice)
                             Brian P. O’Connell (pro hac vice)
                             CAFFERTY CLOBES MERIWETHER &
                             SPRENGEL LLP
                             150 S. Wacker
                             Suite 3000
                             Chicago, IL 60606
                             Tel.: 312-782-4882
                             Fax: 312-782-4485
                             afata@caffertyclobes.com
                             jsprengel@caffertyclobes.com
                             ctourek@caffertyclobes.com
                             boconnell@caffertyclobes.com

                             Ellen Meriwether (pro hac vice)
                             CAFFERTY CLOBES MERIWETHER &
                             SPRENGEL LLP
                             205 N. Monroe St.
                             Media, PA 19063
                             Tel.: 215-864-2800
                             Fax: 215-864-2810
                             emeriwether@caffertyclobes.com

                             Interim Co-Lead Counsel for the Cattle
                             Plaintiffs

                             K. Craig Wildfang (Bar No. 0117043)
                             Thomas J. Undlin (Bar No. 0183751)
                             Stacey P. Slaughter (Bar No. 0296971)
                             ROBINS KAPLAN LLP
                             800 LaSalle Avenue
                             Suite 2800
                             Minneapolis, MN 55402
                             Tel: 612-349-8500
                             Fax: 612-339-4181
                             kcwildfang@robinskaplan.com
                             tundlin@robinskaplan.com
                             sslaughter@robinskaplan.com




                                3
CASE 0:19-cv-01222-JRT-HB Document 217 Filed 07/24/20 Page 4 of 5




                             Hollis Salzman
                             Kellie Lerner
                             ROBINS KAPLAN LLP
                             399 Park Avenue
                             Suite 3600
                             New York, NY 10022
                             Tel: 212-980-7400
                             Fax: 212-980-7499
                             hsalzman@robinskaplan.com
                             klerner@robinskaplan.com

                             Liaison Counsel for the Cattle Plaintiffs


                             Shana E. Scarlett (pro hac vice)
                             Rio S. Pierce (pro hac vice)
                             HAGENS BERMAN SOBOL SHAPIRO
                             LLP
                             715 Hearst Avenue, Suite 202
                             Berkeley, California 94710
                             Telephone: (510) 725-3000
                             Facsimile: (510) 725-3001
                             shanas@hbsslaw.com
                             riop@hbsslaw.com

                             Steve W. Berman (pro hac vice)
                             Breanna Van Engelen (pro hac vice)
                             HAGENS BERMAN SOBOL SHAPIRO
                             LLP
                             1301 Second Avenue, Suite 2000
                             Seattle, Washington 98101
                             Telephone: (206) 623-7292
                             Facsimile: (206) 623-0594
                             steve@hbsslaw.com
                             breannav@hbsslaw.com

                             W. Joseph Bruckner (MN #0147758)
                             Brian D. Clark (MN #0390069)
                             Elizabeth R. Odette (MN #0340698)
                             Arielle S. Wagner (MN #0398332)
                             Stephanie A. Chen (MN #0400032)
                             LOCKRIDGE GRINDAL NAUEN P.L.L.P.
                             100 Washington Avenue South, Suite 2200


                                4
CASE 0:19-cv-01222-JRT-HB Document 217 Filed 07/24/20 Page 5 of 5




                             Minneapolis, MN 55401
                             T: (612) 339-6900
                             F: (612) 339-0981
                             wjbruckner@locklaw.com
                             erodette@locklaw.com
                             bdclark@locklaw.com
                             aswagner@locklaw.com
                             sachen@locklaw.com

                             Interim Co-Lead Class Counsel for Plaintiffs in
                             the Peterson Action




                                5
